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                                                                 3                                  UNITED STATES DISTRICT COURT
                                                                 4                                 NORTHERN DISTRICT OF CALIFORNIA
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                                                                      UNITED STATES OF AMERICA,                        Case No.: 4:25-cr-00003-YGR
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                                                                 9                 Plaintiff,                          ORDER OF REFERENCE TO MAGISTRATE
                                                                                                                       JUDGE WESTMORE
                                                                 10          vs.
                                                                 11
                                                                      SHENG THAO, ANDRE JONES, DAVID
                                                                 12   TRUNG DUONG, AND ANDY HUNG
                                                                      DUONG,
                               Northern District of California
United States District Court




                                                                 13
                                                                                    Defendant.
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                                                                 15          Pursuant to Rule 59(a) of the Federal Rules of Criminal Procedure and this Court’s Standing
                                                                 16   Order in Criminal Cases, all discovery matters in this action are hereby REFERRED to Magistrate
                                                                 17   Judge Westmore, including the stipulation filed on May 28, 2025 (Dkt. No. 79).
                                                                 18          The parties will be advised of the date, time and place of any appearance by notice from
                                                                 19   Magistrate Judge Westmore.
                                                                 20          IT IS SO ORDERED.
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                                                                 22   Dated: May 28, 2025
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                                                                                                                      _______________________________________
                                                                 24                                                           YVONNE GONZALEZ ROGERS
                                                                                                                         UNITED STATES DISTRICT COURT JUDGE
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                                                                      cc: Magistrate Judge Westmore
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